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                               UNITED STATES DISTRICT COURT
                            IN THE DISTRICT OF SOUTH CAROLINA
                                   SPARTANBURG DIVISION

MICHAEL J. PAULING and
RAMONA CESAREO-PAULING,

               Plaintiff,

   vs.                                                     COMPLAINT
                                                     (JURY TRIAL REQUESTED)

IDELIVERTL, LLC; Isom Freight
Lines, LLC; and Sammie Lee McCloud

               Defendants.

The Plaintiff would respectfully show unto the Court that:

         1.    The Plaintiffs are citizens and residents of Atlanta, Georgia, and at all times

relevant to this Complaint were lawfully married as husband and wife.

         2.    Upon information and belief, the Defendant IDELIVERTL, LLC

(“IDELIVERTL”) is a limited liability company organized under the laws of the State of South

Carolina, with its principal place of business in any state in which a member resides. Upon

information and belief, IDELIVERTL is composed of two members: 1) Antoinette Godfrey,

residing in Fort Mill, South Carolina, and, 2) Vincent J. Jacobs, a resident of York County, South

Carolina. IDELIVERTL is a commercial motor carrier bearing USDOT number 2097913 and is

MC-Number 962181.

         3.    Upon information and belief, the Defendant Isom Freight Lines, LLC (“Isom”) is

a limited liability company organized under the laws of the State of South Carolina, with its

principal place of business in any state in which a member resides. Upon information and belief,

Isom is composed of one member: Tony Isom, a resident of York County, South Carolina. Isom

maintains a registered agent for the service of process in Tony Isom, 347 Anvil Draw Pl., Rock

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Hill, South Carolina 29730. Upon information and belief, Isom is not does not have a USDOT

number and does not have authority to operate commercial motor vehicles in interstate

commerce.

       4.      Upon information and belief Defendant SAMMIE LEE MCCLOUD

(“MCCLOUD”) is resident of York County, South Carolina, and possesses a commercial driver's

license issued by the State of South Carolina.

       5.      The wreck that is the subject of this Complaint occurred in Spartanburg County,

State of South Carolina on or about February 13, 2018.

       6.      The United States District Court for the District of South Carolina possesses

jurisdiction over this matter pursuant to 28 U.S.C. § 1332, as the parties are completely diverse

and the amount in controversy exceeds $75,000.00.

       7.      Venue is appropriate in the Spartanburg Division of the District Court of South

Carolina pursuant to 28 U.S.C. § 1391 and Local Civil Rule 3.01 DSC because a substantial part

of the events or omissions giving rise to the claim occurred within the Spartanburg Division of

the District of South Carolina.

       8.      On February 13, 2018, the Defendant MCCLOUD was operating a commercial

motor vehicle traveling north on I-85 in Spartanburg County, South Carolina, when as a result of

a mechanical failure or failures, the vehicle suffered disabling damage causing it to come to a

stop or near stop in the travelled portion of I-85.

       9.      The commercial motor vehicle truck tractor being operated by the Defendant

MCCLOUD was a 2012 International bearing VIN 3HSDJSJR6CN655421 (“the Defendants’

Vehicle”). The Defendants’ Vehicle was owned by Defendant Isom, but was leased to and/or

operating under the authority of Defendant IDELIVERTL.



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         10.    After the Defendants’ Vehicle suffered a disabling mechanical failure,

MCCLOUD chose to slow and/or stop his commercial motor vehicle in the travel lane of I-85

despite sufficient room to pull his vehicle completely off the road on either sides of the roadway.

         11.    Plaintiff was also traveling north on I-85 in a lawful manner.

         12.    A pickup truck towing a trailer (“the Pick Up Truck”) was directly in front of

Plaintiff’s vehicle.

         13.    A tractor trailer combination (“the Penske Truck”) was in front of the Pick Up

Truck.

         14.    The Penske Truck was directly behind the Defendants’ Vehicle. The Pick-Up was

directly behind the Penske Truck. Plaintiff’s vehicle was directly behind the Pick-Up.

         15.    The acts and omissions of MCCLOUD in suddenly slowing or coming to a stop

on the traveled portion of I-85 created an unsafe and dangerous hazard to following motorists,

caused the Penske Truck to suddenly apply its brakes, and the Pick-Up to suddenly swerve into a

construction zone to avoid a collision.

         16.    The hazard created by MCCLOUD’S conduct and the unsafe and dangerously

slowed or stopped Defendants’ vehicle was not visible to Plaintiff until it was too late to avoid

colliding with the rear of the Penske Truck.

         17.    As a result of the collision, the Plaintiff Michael Pauling suffered the following

injuries and damages: a) extensive pain, mental anguish, suffering and discomfort; b) disability

for a period of time; c) money spent for medical care and treatment; d) inability to carry on

normal activities; e) permanent injuries and disability; f) emotional trauma and distress; g) loss

of enjoyment of life; and, h) time and wages lost from his job. As a result of the collision and the




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resulting injuries to Michael Pauling, the Plaintiff Ramona Cesareo-Pauling suffered loss of

consortium damages.

        FOR A FIRST CAUSE OF ACTION AGAINST DEFENDANT MCCLOUD

       18.       At all times relevant to this Complaint, Defendant MCCLOUD was operating a

commercial motor vehicle transporting property in interstate commerce.

       19.       In order to undertake such actions, the Defendant MCCLOUD is required to

have, at a minimum, the knowledge and skills necessary for the safe operation of the commercial

motor vehicle.

       20.       The safe operation of commercial motor vehicles requires specialized knowledge

and additional training not necessary for the safe operation of passenger vehicles because:

                 a.    commercial motor vehicles are heavier than passenger vehicles and take

                       longer to stop, as compared to a passenger car operating at the same

                       prebraking speed;

                 b.    commercial motor vehicles are heavier and longer than passenger vehicles

                       and take longer to execute turning and lane change maneuvers, and take

                       more room to enter traffic, as compared to passenger vehicles operating at

                       the same pre-tum or lane change speed;

                 c.     commercial motor vehicles are heavier than passenger vehicles and cause

                       more significant property damage and/or personal injury or death in

                       collisions, as compared to passenger cars operating at the same

                       precollision speed and trajectory; and,

                 d.    commercial motor vehicles pose more of a risk of causing personal injury,

                       death, or property damage in a collision, as compared to a collision



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                       involving a passenger vehicle operating at the same-pre-collision speed

                       and trajectory.

       21.      In order to undertake the safe operation of a commercial motor vehicle, drivers

such as the Defendant MCCLOUD must have knowledge and skills in many areas, including the

following:

               a.      motor vehicle inspection, repair, and maintenance requirements;

               b.      the principles and procedures for proper communications and the hazards

                       of failing to signal properly, including communicating presence and using

                       lights to signal presence;

               c.      the basic information concerning when and how to make emergency

                       maneuvers, including emergency stops;

               d.      the objectives and proper procedures for performing vehicle safety

                       inspections, including the importance of periodic inspection and repair to

                       vehicle safety, the effect of undiscovered malfunctions upon safety; and

                       what safety-related parts to look for when inspecting vehicles; and,

               e.      basic pretrip inspection skills for the vehicle class that he operates.

       22.     In addition to the basic knowledge and skills required of commercial motor

vehicle drivers, it is standard in the industry for drivers to inspect power steering hoses, pumps,

and fluid level, and to make necessary repairs before operating the vehicle.

       23.     In addition to the basic knowledge and skills required of commercial motor

vehicle drivers, it is standard in the industry for drivers to check the engine compartment for

engine oil level, coolant level and the condition of coolant hoses, power steering fluid levels and

hose condition, and leaks in the engine compartment.



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        24.     In addition to the basic knowledge and skills required of commercial motor

vehicle drivers, it is standard in the industry for drivers to inspect the rear of their vehicles for the

following: that the rear clearance and identification lights are clean, operating, and the proper

color; reflectors are clean and proper color; taillights are clean, operating, and the proper color;

right rear turn signals are operating and the proper color.

        25.     In addition to the basic knowledge and skills required of commercial motor

vehicle drivers, it is standard in the industry for drivers to check for bad brake drums and shoes,

including cracked drums; shoes or pads with oil, grease, or brake fluid on them; or shoes worn

dangerously thin, missing, or broken.

        26.     In addition to the basic knowledge and skills required of commercial motor

vehicle drivers, it is standard in the industry for drivers to do the following during a trip: watch

gauges for signs of trouble; use your senses to check for problems (look, listen, smell, feel);

check critical systems when you stop, including tires, wheels and rims, brakes, lights and

reflectors, brake and electrical connections to trailer, and trailer coupling devices)

        27.     The injuries and damages incurred by the Plaintiff were directly and proximately

caused by MCCLOUD’s careless, negligent, grossly negligent, willful, wanton, reckless, and

unlawful acts in one or more of the following particulars:

                a.      in failing to have the required knowledge and skill regarding motor

                        vehicle inspection, repair, and maintenance requirements;

                b.      in failing to signal properly, including failing to communicate presence

                        or failing to use lights to signal presence;




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               c.      in failing to have the required knowledge and skill regarding the basic

                       information concerning when and how to make emergency maneuvers,

                       including emergency stops;

               d.      in failing to have the required knowledge and skill regarding the

                       objectives and proper procedures for performing vehicle safety

                       inspections, including the importance of periodic inspection and repair to

                       vehicle safety, the effect of undiscovered malfunctions upon safety; and

                       what safety-related parts to look for when inspecting vehicles; and,

               e.      in failing to have the required knowledge and skill regarding basic pretrip

                       inspection skills for the vehicle class that he operates;

               f.      In operating a commercial motor vehicle when the condition of the vehicle

                       rendered it a defective dangerous hazard, including operating a vehicle

                       without proper brakes, brake adjustments, brake lines, hoses, couplings;

               g.      in failing to immediately activate his hazard warning signal flashers;

               h.      in failing to move his vehicle from the travel lanes of I-85; and,

               i.      in operating a vehicle with defective and dangerous brakes.

       28.     The Defendant MCCLOUD's careless, negligent, willful, wanton, reckless and

unlawful acts were the direct and proximate cause of the collision and resulting injuries and

damages to Plaintiff

    FOR A SECOND CAUSE OF ACTION, AGAINST DEFENDANTS IDELIVERTL

                                         AND/OR ISOM

       29.     Plaintiff repeats and realleges paragraphs 1-28 as if verbatim.




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       30.       At all times relevant to the allegations contained in this Complaint, the Defendant

MCCLOUD was working in the course and scope of his employment for the Defendant

IDELIVERTL and/or Isom, or was otherwise acting as an agent or servant of the IDELIVERTL

and/or Isom.

       31.       The Defendant IDELIVERTL and/or Isom is liable for the acts and omissions of

the Defendant MCCLOUD under the doctrines of respondeat superior, master/servant, and/or

agent/principal.

       32.       At all times relevant to this Complaint the Defendant MCCLOUD was operating a

commercial motor vehicle in intrastate or interstate commerce under the USDOT authority

granted to IDELIVERTL.

       33.       Defendant IDELIVERTL is liable for the acts and omissions of Defendant

MCCLOUD while he was operating under its authority by virtue of the Federal Motor Carrier

Safety Regulations.

       34.       The Plaintiff is informed and believes that he is entitled to judgment against the

Defendant IDELIVERTL and/or Isom for actual and punitive damages in an appropriate amount.

       FOR A THIRD CAUSE OF ACTION, AGAIST DEFENDANT IDELIVERTL

       35.       Plaintiff repeats and realleges as if verbatim paragraphs 1-34.

       36.       The Defendant IDELIVERTL operates as a commercial motor carrier.

       37.       In return for the privilege to operate commercial motor vehicles on the public

roadways, prospective motor carriers must make certain safety related certifications and

verifications.




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         38.    Motor carriers such as Defendant IDELIVERTL are required to submit a Form

MCS- 150 to the Federal Motor Carrier Administration and obtain an USDOT number and at

least on a biennial basis thereafter.

         39.    Each Form MCS-150 IDELIVERTL submitted or will submit contains a

Certification Statement whereby IDELIVERTL declares under the penalty of perjury that it is

familiar with the Federal Motor Carrier Safety Regulations and/or Federal Hazardous Materials

Regulations.

         40.    Motor Carriers such as Defendant IDELIVERTL are required to submit a Form

OP-l to the Federal Motor Carrier Administration in order to gain authorization to operate as a

for hire motor carrier transporting goods or property in interstate commerce.

         41.    The Form OP-l submitted by Defendant IDELIVERTL contains a "Safety

Certification", certifying to the Federal Motor Carrier Safety Administration that they are subject

to the pertinent portions of the U.S. DOT's Federal Motor Carrier Safety Regulations

("FMCSR") at 49 CFR, Chapter 3, Subchapter B (Parts 350-399).

         42.    The Form OP-l submitted by Defendant IDELIVERTL contains a "Safety

Certification", certifying to the Federal Motor Carrier Safety Administration that they have

access to and are familiar with all applicable U.S. DOT regulations relating to the safe operation

of commercial vehicles and that they will comply with the regulations.

         43.    Each Form OP-l submitted by Defendant IDELIVERTL contains a "Safety

Certification", certifying to the Federal Motor Carrier Safety Administration that, at a minimum,

they:

                a.      have in place a system and an individual responsible for ensuring overall

                        compliance with the FMCSR;



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               b.      Can produce a copy of the FMCSR;

               c.      have in place a driver safety training/orientation program;

               d.      are familiar with DOT regulations governing driver qualifications and

                       have in place a system for overseeing driver qualification requirements (49

                       CFR Parts 391); and,

               e.      have in place policies and procedures consistent with DOT regulations

                       governing driving and operational safety of motor vehicles, including

                       vehicle inspection, repair and maintenance.

       44.     Reasonably safe motor carriers develop and implement policies, practices, and

procedures to give effect to the minimum safety standards contained in the Federal Motor Carrier

Safety Regulations to reduce or eliminate preventable collisions that may cause injury, death, or

property damage on the public roadways.

       45.     Reasonably safe motor carriers train and educate drivers operating under their

authority regarding the safe operation of commercial motor vehicles.

       46.     Reasonably safe motor carriers utilize information and training materials from

industry associations and third party safety vendors such as J.J. Keller & Associates, Inc., the

“Smith System,” Pro-Tread, and/or the National Safety Council to train and educate their drivers

regarding the safe operation of commercial motor vehicles.

       47.     The safe operation of commercial motor vehicles includes practices and

procedures related to speed management, space management, seeing ahead, total stopping

distance, pretrip inspections, vehicle inspections, seeing hazards, and emergency maneuvers.

       48.     Reasonably safe motor carriers utilize publicly available government, industry,

and trade publications regarding the preventability of highway collisions to design, develop, and



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implement safety management controls which are designed to reduce collisions involving

commercial motor vehicles.

        49.    Motor carriers should never allow or permit a driver to operate their commercial

motor vehicles if the driver does not have the required knowledge or skill to safely operate the

vehicle.

        50.    To be qualified to operate a commercial motor vehicle, a driver must have

experience and/or training to safely operate the type of vehicle; must be physically qualified;

must have a currently valid CDL, and must furnish the motor carrier a list of current driving

violations.

        51.    To operate a commercial motor vehicle under IDELIVERTL’s operating

authority, the prospective driver is required to complete a written application containing the

following information:

               a.      the nature and extent of the driver’s experience;

               b.      a list of all accidents in the previous 3 years;

               c.      a list of all violations of motor vehicle laws in the previous 3 years;

               d.      a detailed description of any denial, revocation, or suspension of any

                       drivers licenses or permits;

               e.      employment information for the previous 3 years; and,

               f.      the names of all employers for whom the driver has operated a commercial

                       motor vehicle for the previous 7 years.

        52.    Before a motor carrier such as Defendant IDELIVERTL may allow or permit a

driver to operate a commercial motor vehicle under its operating authority, the motor carrier

must:



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                a.     obtain the driver’s motor vehicle record from the applicable state agency

                       for the previous 3 years; and,

                b.     investigate the driver’s safety performance history with all DOT regulated

                       employers for the previous 3 years;

        53.     Once a motor carrier such as Defendant IDELIVERTL hires a commercial driver,

every twelve months thereafter the driver must submit a written list of all traffic violations the

driver received in those twelve months.

        54.     Once a motor carrier such as Defendant IDELIVERTL hires a commercial driver,

every twelve months thereafter the motor carrier must obtain from the relevant state agency a list

of traffic violations for the previous year and maintain a copy of the record in the driver’s

qualification file.

        55.     Motor carriers such as IDELIVERTL are required to maintain a Driver

Qualification File meeting the requirements of 49 CFR § 391.51 for the duration of the driver’s

employment with the motor carrier plus three years.

        56.     Motor carriers should never allow or permit a driver to operate their commercial

motor vehicles if the driver does not have the required knowledge or skill to safely operate the

vehicle.

        57.     It is standard in the industry for careful motor carriers to regularly check their

Safety Measurement System details.

        58.     The FMCSA’s Safety Measurement System (SMS) provides an assessment of a

motor carrier’s on-road performance results within seven safety related categories. Motor

carriers are scored on a percentile basis as compared to other similar carriers.




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       59.     It is standard in the industry for motor carriers to regularly monitor their SMS

scores and to address any areas of noncompliance before they lead to collisions.

       60.     Prior to the date of the collision that is the subject of this litigation, the Defendant

IDELIVERTL’s publicly available compliance history demonstrated a custom and pattern of

operating unsafe vehicles on the public roadways, including violations for improper, out of

service, and non-functioning brake systems.

       61.     IDELIVERTL’S history of USDOT inspections also demonstrated that its vehicle

out of service rate was above 50%, when the national average was 20%.

       62.     The injuries and damages incurred by the Plaintiff were directly and proximately

caused by the Defendant IDELIVERTL’s careless, negligent, grossly negligent, willful, wanton,

reckless, and unlawful acts in one or more of the following particulars by failing to use

reasonable care in the:

       a.      failing to design, develop, and implement adequate safety management controls

               related to speed management, space management, seeing ahead, total stopping

               distance, pretrip inspections, vehicle inspections, seeing hazards, and emergency

               maneuvers, and vehicle maintenance.

       b.      failing to train Defendant MCCLOUD regarding speed management, space

               management, seeing ahead, total stopping distance, pretrip inspections, vehicle

               inspections, seeing hazards, and emergency maneuvers, and vehicle maintenance.

       c.      failing to properly monitor and supervise the driving habits of Defendant

               MCCLOUD;




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 d.    Supervision of its business operations in failing to properly monitor the

       driving habits and records of its drivers, employees, and/or agents,

       specifically the Defendant MCCLOUD;

 e.    Supervision of its drivers, employees, and/or agents, specifically the

       Defendant MCCLOUD;

 f.    Instruction of its drivers, employees, and/or agents, specifically the

       Defendant MCCLOUD;

 g.    Entrustment of a tractor trailer to its drivers, employees, and/or agents,

       specifically the Defendant MCCLOUD;

 h.    Compliance with federal and/or state regulations and industry standards,

       as referenced in this Complaint and as developed during the discovery in

       this case;

 i.    In failing to have adequate safety management controls in place to ensure

       compliance with the required safety fitness standard;

 j.    in failing to budget an appropriate amount of money to design, develop, and

       implement safety management controls in the areas of speed management, space

       management, seeing ahead, total stopping distance, pretrip inspections, vehicle

       inspections, seeing hazards, and emergency maneuvers, and vehicle

       maintenance; and,

 k.    in operating a vehicle with defective, malfunctioning, and dangerous brakes and

       brake systems.




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       63.     The Defendant IDELIVERTL’s careless, negligent, willful, wanton, reckless and

unlawful acts were the direct and proximate cause of the collision and resulting injuries and

damages to the Plaintiff.

                            FOR A FOURTH CAUSE OF ACTION
                             (Against IDELIVERTL and/or Isom)

       64.     Plaintiff repeats and realleges as if verbatim Paragraphs 1-63.

       65.     Defendants IDELIVERTL and/or Isom had the duty and obligation to maintain,

inspect, service, and repair the Defendants’ Vehicle, including its brake, brake lines, and brake

system.

       66.     The injuries and damages incurred by the Plaintiff were directly and proximately

caused by the Defendant IDELIVERTL and/or Isom’s careless, negligent, grossly negligent,

willful, wanton, reckless, and unlawful acts in one or more of the following particulars by failing

to use reasonable care in the:

               a.      inspection, repair, and maintenance of the Defendants’ Vehicle, including

                       but not limited to the brakes and brake systems; and,

               b.      allowing or permitting the Defendants’ Vehicle to operate on the public

                       roadways when it was not mechanically safe to do so;

       67.     The Defendant IDELIVERTL’s careless, negligent, willful, wanton, reckless and

unlawful acts were the direct and proximate cause of the collision and resulting injuries and

damages to the Plaintiff.


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       WHEREFORE, the Plaintiffs pray for judgment against the Defendants for actual and

punitive damages in an appropriate amount to be determined at trial in excess of $75,000.00, the

costs of this action, and for such other and further relief as the Court may deem just and proper.



                                      s/ William H. McAngus, Jr.
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January 23, 2019




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